            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                            CIVIL NO. 3:04CV210
                                (3:01CR11-5)


TIMOTHY B. BURNHAM,                  )
                                     )
                  Petitioner,        )
                                     )
            Vs.                      )      MEMORANDUM AND ORDER
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Respondent.        )
                                     )


      THIS MATTER is before the Court on the Petitioner's motion pursuant to

28 U.S.C. § 2255 to vacate, set aside or correct his sentence and a motion

for expedited review. No response is necessary from the Government.

      A prisoner in federal custody may attack his conviction and sentence on

the grounds that it is in violation of the Constitution or United States law, was

imposed without jurisdiction, exceeds the maximum penalty, or is otherwise

subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion and any annexed
      exhibits and the prior proceedings in the case that the movant is
      not entitled to relief in the district court, the judge shall make an




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        order for its summary dismissal and cause the movant to be
        notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United States

District Courts. The Court, having reviewed the record of the criminal

proceedings, enters summary dismissal for the reasons stated herein.



                          I. PROCEDURAL HISTORY

        On May 10, 2001, Petitioner was charged in a superseding bill of

indictment with conspiracy to defraud, in violation of 18 U.S.C. § 371, and

conspiracy to money launder, in violation of 18 U.S.C. § 1956(h).1 Second

Superseding Bill of Indictment, filed May 10, 2001. On June 5, 2001, the

undersigned denied the Petitioner’s motion to continue the trial but allowed

his first court appointed counsel to withdraw from the case. Order, filed June

5, 2001. By virtue of that same Order, Claire Rauscher was appointed to

represent the Petitioner. Id. Six days later, the undersigned sua sponte

continued the case from the trial calendar. Order, filed June 11, 2001.

Petitioner’s case was continued from the trial calendar a second time in

   1
     The original bill of indictment, filed January 11, 2001, did not name the
Petitioner as a defendant. Likewise, the superseding bill of indictment, filed
March 15, 2001, did not name him as a defendant.


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August 2001. Order, filed August 20, 2001. On September 26, 2001, the

Petitioner entered into a plea agreement with the Government pursuant to

which he agreed to plead guilty to Count One of the second superseding bill of

indictment. Plea Agreement, filed September 26, 2001. In the plea

agreement, Petitioner was advised that he faced a maximum sentence of five

years imprisonment and waived the right to contest his conviction or sentence

on direct appeal or pursuant to 28 U.S.C. § 2255 on any grounds other than

ineffective assistance of counsel or prosecutorial misconduct. Id., at 1, 4.

      On that same date, the Petitioner attended a Rule 11 hearing and was

advised, among other things, of the maximum sentences, his waivers and the

essential elements of the offense to which he pled guilty. Rule 11 Inquiry

and Order of Acceptance of Plea, filed September 26, 2001; Transcript of

Amended Rule 11 Electronically Recorded Proceeding, filed August 20,

2002. As is the custom in this Court, not only did the Petitioner answer each

question during the hearing, but he and his attorney signed the Rule 11

Inquiry which was then filed of record. Rule 11 Inquiry, supra, at 8. In that

Inquiry, Petitioner acknowledged that his written plea agreement, which the

Court reviewed with him, contained a provision waiving his right to appeal his




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conviction or sentence or to contest it in any collateral proceeding, including a

§ 2255 petition, on any grounds other than ineffective assistance of counsel

or prosecutorial misconduct. Id. After being advised of the elements of the

offense, the Petitioner also acknowledged that his guilty plea was knowing

and voluntary, he was satisfied with the services of his attorney, he had

discussed with his attorney how the Guidelines applied to his case, no one

had coerced or threatened him, and he understood and agreed with the terms

of his plea agreement. Id., 1-8.

      On April 29, 2003, the undersigned sentenced the Petitioner to serve

37 months of imprisonment. Judgment in a Criminal Case, filed May 8,

2003. The Petitioner did not appeal either his conviction or sentence. On

April 28, 2004, the Petitioner timely filed this motion pursuant to 28 U.S.C. §

2255 raising as grounds for relief ineffective assistance of counsel.



                         II. STANDARD OF REVIEW

      In considering Petitioner's claims that he has not received adequate

assistance of counsel,

      [f]irst, the defendant must show that counsel's performance was
      deficient. This requires showing that counsel made errors so



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      serious that counsel was not functioning as the "counsel"
      guaranteed the defendant by the Sixth Amendment. Second, the
      defendant must show that the deficient performance prejudiced
      the defense. This requires showing that counsel's errors were so
      serious as to deprive the defendant of a fair trial, a trial whose
      result is reliable.

Strickland v. Washington, 466 U.S. 668, 686 (1984). Unless a defendant

makes both showings, his claim of ineffective assistance of counsel must fail.

Id. Thus, a defendant must show that counsel's performance fell below

objective standards of reasonableness and, that but for her conduct, there was

a reasonable probability the result would have been different. Id., at 688;

Hill v. Lockhart, 474 U.S. 52 (1985); Fields v. Attorney Gen., 956 F.2d

1290 (4th Cir. 1992) (In order to obtain relief from a guilty plea on the basis

of ineffective assistance of counsel, a defendant must show both that

counsel was incompetent and, but for that incompetence, he would not have

pled guilty). If the defendant fails to make the first showing, there is no need

to consider the second. Strickland, supra.




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                                 III. DISCUSSION

        Before addressing the Petitioner’s claims, it is necessary to describe the

complex conspiracy of which he was convicted. The Petitioner and his co-

defendants

        “devised and executed an elaborate Ponzi2 scheme to obtain
        funds from investors by falsely representing, among other things,
        that they were able to pay investors fixed annual rates of return of
        between 8 and 84 percent because Banyan (International, Ltd.)
        earned profits from an investment strategy that was virtually risk-
        free.” Second Superseding Bill of Indictment, filed May 10,
        2001, at 1. Investors were told, among other things, that by
        placing money into “pure trust organizations” [PTO’s] devised by
        the Defendants, the money would be beyond government control
        and, therefore, tax free. Investors were encouraged to mortgage
        their homes so that the equity received could be invested in
        Banyan. The Defendants also told investors to withdraw money
        from their IRA accounts for investment in sham IRA custodian
        accounts which would purportedly provide tax free interest
        income. Over 500 individuals who invested $56 million with
        Banyan were defrauded of approximately $33 million.

Order, filed January 14, 2003, at 3.



   2
     A Ponzi scheme is a “fraudulent investment scheme in which money
contributed by later investors generates artificially high dividends for the
original investors, whose example attracts even larger investments. Money
from the new investors is used directly to repay or pay interest to old
investors, usually without any operation or revenue-producing activity other
than the continual raising of new funds. This scheme takes its name from
Charles Ponzi, who in the late 1920s was convicted for fraudulent schemes
he conducted in Boston.” Black’s Law Dictionary (7th ed. 1999).


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      The Petitioner’s first claim is that his attorney should not have allowed

him to enter into the plea agreement with the Government because the

indictment did not allege that the object of the conspiracy charged in Count

One was the sale of unregistered securities or that the Petitioner was

personally involved with unregistered securities. He also claims that the

indictment failed to allege that unregistered securities were sold in furtherance

of the conspiracy. However, the indictment alleged, and the Petitioner did not

dispute, that he became a paid solicitor for Banyan in 1998. The indictment

further alleged that

      [a]s a part of their scheme and artifice to defraud, the defendants
      concealed their activities and the true nature of those activities
      from investor protection agencies, such as the United States
      Securities and Exchange Commission (“SEC”), the United States
      Commodities Future Trading Commission (“CFTC”), and state
      securities agencies. Those agencies enforce laws designed to
      provide disclosure to investors and prevent frauds by requiring
      persons engaged in the sale of a security, such as the so-called
      notes receivables sold by Banyan, to register the offering, sell only
      through registered or licensed individuals and entities, and provide
      potential investors with materials including audited financial
      statements and detailed disclosures of risks. The defendants
      sought to evade these laws and avoid scrutiny by the investor
      protection agencies by . . . [f]alsely representing that they were
      not subject to the investor protection laws, selling securities
      through sales persons and firms who were not licensed or
      registered to sell securities, operating unregistered investment
      companies and commodity trading pools [and] [f]alsely



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      representing that they were not selling securities to individuals
      because they were selling to PTO’s through negotiated contracts.
      . . . [The defendants] knew that neither Banyan nor its note
      receivables was registered with the SEC and that they personally
      were not licensed to sell securities.
                                       ...
      In furtherance of this conspiracy and to accomplish its objectives,
      defendants and their co-conspirators committed and cause to be
      committed at least one overt act in the Western District of North
      Carolina, as set forth in paragraphs 1 through 21 above[.]

Second Superseding Bill of Indictment, supra., at 3, 8.

      Thus, Count One specifically incorporates the prior paragraphs,

including the paragraph describing the defendants’ illegal selling of

unregistered securities. The indictment clearly states that one object of the

conspiracy was to sell unregistered securities, i.e., PTO’s, thereby defrauding,

and that the selling of those PTO’s were overt acts in furtherance of the

conspiracy. The Petitioner’s claim that his attorney should have noted

“defects” in the indictment is rejected.

      Moreover, contrary to his position now, the Petitioner was advised

during the Rule11 hearing that the conspiracy to which he was pleading guilty

involved fraud in the sale of securities. Rule 11 Transcript, supra, at 8. He

unequivocally stated in open court that he was guilty of the sale of

unregistered securities which was, as the Magistrate Judge advised him, one



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aspect of the conspiracy. Id., at 11-13. His attorney also explained that,

although the conspiracy involved many illegal acts, the Petitioner’s

involvement in the conspiracy was limited to the sale of unregistered

securities.

      Even though Mr. Burnham did say he was pleading guilty to
      Count One as refers to sale of unregistered securities, Count One
      does charge numerous, different subsequent offenses under that
      conspiracy. I want to make it clear that that – that substantive
      offense, the sale of unregistered securities, in violation of Title 15,
      United States Code, Section 77e, which is a non-scienter, strict
      liability offense. And that’s the offense to which Mr. Burnham is
      pleading guilty to today.

Id., at 24. At that point the Magistrate Judge again asked the Petitioner if he

understood “all of the elements” of the offense of conspiracy to defraud by the

selling of unregistered securities and again asked if he was admitting his guilt.

Id., at 24-25. The Petitioner again acknowledged his guilt. Id., at 25. The

Petitioner’s attempt now to claim that his attorney failed to inform him that he

was pleading guilty to conspiracy, not to the substantive charge of selling

unregistered securities, is disingenuous. United States v. DeFusco, 949 F.2d

114, 119 (4th Cir. 1991) (A petitioner’s statements during the Rule 11

colloquy “constitute a ‘formidable barrier’ to collateral proceedings to vacate

the plea.” (quotations omitted)); accord, United States v. Lambey, 974 F.2d



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1389, 1394-95 (4th Cir. 1992); United States v. Land, 60 Fed. Appx. 963

(4th Cir.), cert. denied, 540 U.S. 1068 (2003). Moreover, although “the

conspiracy had multiple objects – wire fraud [and] securities fraud[] – the

objects clearly were related to the overall goal of defrauding investors through

fraudulent [investments].” United States v. Bollin, 264 F.3d 391, 405 (4th

Cir. 2001). “The very structure of the scheme in this case required the

conspirators to play different roles – brokers, project managers and traders –

to carry out the fraud and obscure the disposition of funds placed in the

[PTO’s].” Id., at 406. Petitioner’s claim that he is not guilty of conspiracy

because all he did was sell unregistered securities is frivolous. Thus, his

attorney cannot have been ineffective.

      Next, the Petitioner claims that at his sentencing hearing, he once again

denied involvement in the conspiracy, admitting only to the substantive crime

of selling unregistered securities. “Mr. Burnham specifically denied entering

into any agreement either by direct agreement, or tacitly by behavior.”

Petitioner’s Brief in Support of § 2255 Motion, at 7. This statement is in

direct conflict with his admission at the Rule 11 hearing that he was guilty of




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conspiracy, albeit that his role may have been limited to the sale of

unregistered securities.

      Moreover, he acknowledged his role during the sentencing hearing. The

Petitioner’s Probation Officer recommended that he not be given a three-level

adjustment for acceptance of responsibility. This was based on the fact that

the Petitioner had failed to inform the Internal Revenue Service (IRS) that he

had, in fact, entered into a plea agreement with the Government pursuant to

which he pled guilty to the conspiracy count. Presentence Report, revised

April 14, 2003, at 13. As part of the plea agreement, the Petitioner was

required to file tax returns; however, when he prepared the same, he

represented that he was due a deduction as a victim of the Banyan scheme.

Id. At sentencing, the Petitioner’s attorney explained his somewhat strident

position and was able to recoup the three-level acceptance of responsibility.

      Mr. Burnham has accepted responsibility in this case. He entered
      a plea. . . . The beef continues to be as to whether he in fact
      accepted responsibility for all of these allegations in Count One.
      Well, Your Honor, Mr. Burnham pled specifically to one of – You
      know, Your Honor, in conspiracy courts, there’s – especially in the
      one that was in this indictment, there was (sic) numerous parts to
      that. There was wire fraud, bank fraud, mail fraud, tax fraud, and
      there was also the sale and delivery of unregistered securities.
      And in negotiations with the government, Mr. Burnham admitted
      that, yes, in fact, he was involved in that and he didn’t know at



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      the time that they were securities, but he admitted that, in fact,
      that is what he did, and that’s what he pled to, and we made it
      clear at the time of the plea that that’s what he was pleading to.
      He has never and will never say that he intended to defraud
      anyone or that he knew about the fraud, and I’d submit to the
      Court that, based on the evidence that I reviewed, that at no time
      is there any statement that, in fact, Mr. Burnham knew about the
      losses sustained by Mark Vaughan and Hal Greer.

Transcript of Sentencing Hearing, filed May 23, 2003, at 6-7. The fact that

the Petitioner thought he and his co-conspirators had devised a scheme which

could avoid governmental regulation is of no moment. United States v.

Tucker, 345 F.3d 320, 330 (5th Cir. 2003) (“The government need only

prove that the object sold or offered is, in fact, a security; it need not be

proved that the defendant had specific knowledge that the object sold or

offered was a security.”). He pled guilty to conspiring to sell unregistered

securities; admitted that he entered into that conspiracy; and admitted that he

himself sold those securities. Sentencing Transcript, at 22 (“I am so sorry

and accept full responsibility for how my involvement with Banyan led so

many individuals . . . to lose their investments and suffer financial harm.”).

Thus, every element of the crime was not only alleged in the indictment but

admitted to by the Petitioner. Bollin, supra (The elements of conspiracy are

the existence of a conspiracy; defendant’s knowledge thereof; and



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defendant’s voluntary entry into the conspiracy.); United States v. United

Med. & Surgical Supply Corp., 989 F.2d 1390, 1404 (4th Cir. 1993)

(Conspiracy to commit securities fraud shown by the following elements: (1)

two or more persons came to a mutual understanding to commit a crime; (2)

defendant willfully became a member of the conspiracy; and (3) one

member of the conspiracy performed an overt act in furtherance of the

conspiracy.).

      Petitioner also argues that his attorney should not have allowed him to

enter a guilty plea to conspiracy, a specific intent crime, when he was only

guilty of securities fraud, which he characterizes as a strict liability crime

which has no intent requirement. As noted above, each element of the

conspiracy charge was alleged in the indictment and admitted by the

Petitioner. Moreover, the offense of securities fraud requires the Government

to prove that the defendant had the intent to defraud, mislead or deceive,

regardless of his belief as to whether the securities were required to be

registered. Tucker, supra (“The focus is then necessarily on whether a

defendant possessed the intent to defraud investors, his belief as to the

nature of the certificates notwithstanding.”); United States v. Tarallo, 380




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F.3d 1174, 1181, 1187 (9th Cir. 2004) (A defendant may be convicted of

securities fraud if the government proves intent to defraud, mislead, or

deceive even if the defendant did not know his specific conduct was illegal.).

The Petitioner’s colloquy at his Rule 11 hearing and his allocution during the

sentencing hearing establish that he had the requisite intent for conspiracy.

       The Petitioner also claims his attorney was ineffective for allowing him

to enter into a plea agreement which contains a forfeiture provision because

18 U.S.C. § 982 does not provide for forfeiture in connection with the offense

of securities fraud. Title 18 U.S.C. § 2461 authorizes criminal forfeiture for

any act for which civil forfeiture is provided. Title 18 U.S.C. § 981(a)(1)(C)

authorizes forfeiture of any property which is derived from or traceable to any

offense defined in 18 U.S.C. § 1956(c)(7), or a conspiracy to commit any

such offense. Title 18 U.S.C. § 1956(c)(7) defines such conduct as any

offense listed in 18 U.S.C. § 1961(1). That section includes fraud in the sale

of securities. Thus, the Petitioner was properly subjected to forfeiture in his

plea agreement.3 See, e.g., United States v. Razmilovic, 419 F.3d 134,

135-36 (2d Cir. 2005).

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    The fact is, however, that none of the Petitioner’s property was forfeited.
Sentencing Transcript, at 27.


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       Petitioner’s next argument is that defense counsel should have filed a

direct appeal from his conviction and sentence based on ineffective

assistance.4 However, he does not allege that he directed counsel to file an

appeal. Nor does he claim that counsel failed to consult with him about the

advisability of filing such an appeal.5 Again, Petitioner argues only that

because his attorney allowed him to plead guilty to conspiracy when all he

was guilty of was securities fraud establishes ineffective assistance.6



   4
     The terms of the plea agreement prohibited a direct appeal on any ground
other than ineffective assistance of counsel or prosecutorial misconduct. The
Petitioner does not claim that an appeal on any ground other than ineffective
assistance should have been filed.
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      It is, however, telling that the Petitioner, who was a licensed attorney at
one time, did not make specific claims under oath that he directed counsel to
file an appeal based on ineffective assistance of counsel or that she failed to
consult with him about the same.
   6
      The Court is compelled to note that in the absence of the outstanding
representation provided by Ms. Rauscher, the Petitioner faced a sentence of
20 years imprisonment. Indeed, in the event that the undersigned determined
to set aside the Petitioner’s plea agreement and allow him to go forward to
trial, he quite possibly would face sentences similar to those of his co-
defendants. For example, Stewart, who was convicted by jury verdict, was
sentenced to 60 months imprisonment on Count One to run consecutive to his
conviction on Count 14 for which he received a sentence of 240 months. In
all, Stewart received a sentence of 2,100 months imprisonment, effectively a
life sentence. Co-defendant Vaughan received a sentence of 220 months and
Greer received a 120-month sentence.


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      In considering this claim that counsel should have filed a direct appeal

implicating herself as ineffective, it is advisable to note the outcome of the

Petitioner’s case. The only objection to the presentence report which affected

the Petitioner’s Guideline range was the objection lodged by Ms. Rauscher to

the failure of the Probation Officer to award a three-level adjustment for

acceptance of responsibility. The undersigned granted that objection and gave

the Petitioner the three-level adjustment. This victory by defense counsel

modified the Petitioner’s Guideline range of imprisonment from 41 to 51

months to 30 to 37 months. Moreover, had the Petitioner pled guilty to

Count Fourteen, conspiracy to money launder, he would have faced a possible

20-year sentence.

      In order to establish a Sixth Amendment violation based on
      counsel’s failure to appeal, [the Petitioner] must prove that (1)
      counsel was ineffective and (2) but for counsel’s ineffectiveness,
      an appeal would have been filed. An attorney who fails to file an
      appeal after being instructed by his client to do so is per se
      ineffective. When a client does not specifically instruct counsel to
      appeal, however, whether counsel has been ineffective by failing
      to appeal depends upon “whether counsel in fact consulted with
      the defendant about an appeal.” In this context, “consult”
      “convey[s] a specific meaning – advising the defendant about the
      advantages and disadvantages of taking an appeal, and making a
      reasonable effort to discover the defendant’s wishes.” If counsel
      has not consulted with [her] client, the court must then ask
      whether the failure to consult itself constitutes deficient



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      performance. The Sixth Amendment requires counsel to consult
      with the defendant concerning whether to appeal when counsel
      has reason to believe “either (1) that a rational defendant would
      want to appeal (for example, because there are nonfrivolous
      grounds for appeal), or (2) that this particular defendant
      reasonably demonstrated to counsel that he was interested in
      appealing.”

United States v. Witherspoon, 231 F.3d 923, 926 (4th Cir. 2000) (quoting

Roe v. Flores-Ortega, 528 U.S. 470, 478, 480 (2000)) (other internal

citations omitted). The Petitioner does not allege that he instructed counsel

to appeal. Nor does he allege that counsel failed to advise him concerning his

right to appeal. In fact, after sentence was pronounced, the Petitioner

specifically acknowledged on the record that he understood his right to appeal

on the grounds of ineffective assistance of counsel or prosecutorial

misconduct. Sentencing Transcript, at 30. He made no mention of a desire

to appeal; thus, he did not make a demonstration that he was interested in

appealing. Assuming arguendo that counsel failed to consult him, there was

no reason for counsel to have believed that a rational defendant would want to

appeal. Witherspoon, supra. The Petitioner’s objection to the presentence

report had been granted and he still hoped to provide assistance to the

Government prior to reporting to prison. Flores-Ortega, supra. He had




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entered into a plea agreement with the Government and at sentencing,

received the same offense level which had been negotiated in that agreement.

Witherspoon, 231 F.3d at 926 n.3. The Petitioner has not made a definitive

statement on this issue, has not provided an affidavit (although he was a

practicing attorney at one time), and has not made a credible showing the he

instructed his attorney to appeal or made a demonstration that he was

interested in appealing. The Court, therefore, finds that this ground is

frivolous as well.

       The only remaining ground which merits consideration is that Ms.

Rauscher was ineffective by entering into an agreement with the Government

to allow the Petitioner to be de-briefed. However, the time period about

which the Petitioner complains was prior to Ms. Rauscher’s appointment as

his attorney.7 In fact, the Petitioner had not been indicted at that point in

time. To successfully assert a claim of ineffective assistance of counsel, the

Petitioner must establish that he had a constitutional right to counsel during

the time at issue. Wainwright v. Torna, 455 U.S. 586 (1982). For purposes

of a motion based on § 2255, the Petitioner did not have a Sixth Amendment

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   The Petitioner was, actually, represented at that time by retained counsel,
A.M. Stroud, from Louisiana.


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right to counsel prior to his indictment. United States v. Payne, 954 F.2d

199, 203 (4th Cir. 1992) (The Sixth Amendment right to counsel attaches at

or after the initiation of adversarial judicial criminal proceedings.); accord,

Perry v. Kemna, 356 F.3d 880, 895-96 (8th Cir.), cert. denied, 125 S. Ct.

657 (2004) (no Sixth Amendment right during the investigatory phase,

therefore, no claim for ineffective assistance); United States v. Hayes, 231

F.3d 663, 672-73 (9th Cir. 2000) (“Where a case is still in the investigative

stage, or in the absence of a person’s being charged, arrested, or indicted,

such adversary proceedings have not yet commenced, and thus no right to

counsel has attached.”); United States v. Moody, 206 F.3d 609 (6th Cir.

2000); United States v. Mapp, 170 F.3d 328, 334 (2d Cir. 1999); United

States v. Lin Lyn Trading, Ltd., 149 F.3d 1112, 1117 (10th Cir. 1998);

Kight v. Singletary, 50 F.3d 1539, 1548 (11th Cir. 1995). Thus, he may not

state a claim for ineffective assistance on this ground.

      Because the Court finds that the Petitioner has failed to show that

“counsel made errors so serious that counsel was not functioning as the

‘counsel’ guaranteed the defendant by the Sixth Amendment,” the second

prong of Strickland need not be reached.




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                                IV. ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion pursuant to

28 U.S.C. § 2255 is hereby DENIED. A Judgment is filed herewith.

      IT IS FURTHER ORDERED that the Petitioner’s motion for expedited

review is DENIED.

      The Clerk is directed to send a copy of this Memorandum and Order and

accompanying Judgment to Claire Rauscher as well as to the Petitioner and

the United States Attorney.




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                   Signed: December 2, 2005




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